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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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EFRAIN HIDALGO, a/k/a CHEKO,

                     Petitioner,
                                                              17-CV-0784-A
              v.                                              11-CR-0151-A
                                                              11-CR-0366-A
UNITED STATES OF AMERICA,                                 DECISION AND ORDER

                Respondent.
________________________________

       Petitioner Efrain Hidalgo seeks relief pursuant to 28 U.S.C. § 2255. For the

reasons stated below, Petitioner’s motion is denied.

                                       DISCUSSION

       On February 26, 2015, Petitioner pled guilty to one count of racketeering

conspiracy, in violation of 18 U.S.C. § 1962(d); and one count of discharging a firearm in

furtherance of a crime of violence, in violation of 18 U.S.C. § 924(c)(1)(A)(iii). The Court

sentenced Petitioner to 210 months’ imprisonment on his racketeering conspiracy

conviction and a consecutive 120-month sentence on his § 924(c) conviction, for an

aggregate sentence of 330 months’ imprisonment.             Petitioner did not appeal his

conviction or sentence.

       Relying on the Supreme Court’s decision in Johnson v. United States, 135 S. Ct.

2551 (2015), Petitioner now seeks to vacate his § 924(c) conviction pursuant to 28 U.S.C.

§ 2255. See Docket No. 333. Johnson held that the residual clause in the Armed Career

Criminal Act’s (ACCA), 18 U.S.C. § 924(e), definition of “violent felony” is

unconstitutionally vague.    Johnson, 135 S. Ct. at 2563.       Petitioner argues that the

definition of “crime of violence” in § 924(c) is similar to the ACCA’s definition of “violent

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felony” and must, therefore, also be declared unconstitutionally vague. Compare 18

U.S.C. § 924(c)(3)(B) (residual clause in definition of “crime of violence”), with id.

§ 924(e)(2)(B)(ii) (residual clause in definition of “violent felony”).

                                                DISCUSSION

        In his plea agreement, Petitioner “knowingly waive[d] the right to . . . collaterally

attack any component of a sentence imposed by the Court which falls within or is less

than” an aggregate sentence of life plus ten years. Docket No. 239 (Plea Agmt) ¶ 30.

Petitioner gave up this right knowing that he was “waiving the right to challenge the

sentence in the event that in the future [he] becomes aware of previously unknown facts

or a change in the law which [he] believes would justify a decrease in [his] sentence.”

Plea Agree. ¶ 31. As noted, the Court sentenced Petitioner to 330 months’ imprisonment.

Petitioner’s § 2255 motion therefore falls within the plea agreement’s collateral-attack

waiver.

        A collateral-attack waiver is “‘presumpti[vely] . . . enforceabl[e].” Sanford v. United

States, 841 F.3d 578, 580 (2d Cir. 2016) (quoting United States v. Gomez-Perez, 215

F.3d 315, 319 (2d. Cir 2000)) (brackets omitted). A court may disregard a collateral-

attack waiver in only a few narrow circumstances, “‘such as (1) when the waiver was not

made knowingly, voluntarily, and competently, (2) when the sentence was imposed based

on constitutionally impermissible factors, such as ethnic, racial or other prohibited biases,

(3) when the government breached the plea agreement, or (4) when the sentencing court

failed to enunciate any rationale for the [petitioner’s] sentence, thus amounting to an

abdication of the judicial responsibility subject to mandamus.’” Id. 1


1 It is well settled that that, “[e]ven if the plain language of the plea agreement” prohibits a collateral attack,
a court should “not enforce . . . a waiver” when a petitioner “is challenging the constitutionality of the process

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        Even when read in the charitable light to which pro se pleadings are entitled,

neither Petitioner’s pleadings nor the record in this case suggest that the collateral-attack

waiver in Petitioner’s plea agreement is unenforceable. The only conceivable argument

for disregarding the waiver—that the waiver “was not made knowingly, voluntarily, and

competently”—has no support in the record.

        Petitioner’s plea hearing, which took place over two consecutive days,

demonstrated that Petitioner’s plea was knowing and voluntary. At his plea hearing,

Petitioner stated, under oath, that he was satisfied with his attorney’s “advice and

counsel” and that his attorney had “done his best . . . advising [Petitioner] . . . to lead [him]

in the right direction.” Docket No. 349 at 4:6 – 5:5. Petitioner stated that he understood

the lengthy factual basis for his plea, as well as the detailed Sentencing Guidelines

calculations applicable in Petitioner’s case. Petitioner stated that he understood the plea

agreement’s collateral-attack waiver (id. Tr. 30:9 – 31:13), and he repeatedly told the

Court that he had no questions about the plea agreement’s terms. Docket No. 349 Tr.

3:15-17; Docket No. 350 Tr. 1:16; 7:11-16; 10:10-11; 22:6-7; 22:13-14. After a lengthy

colloquy, and based on the Court’s observations, the Court found that Petitioner was “very

intelligent, appears to be alert, focused, attentive, clearly understands everything [the

Court was] saying,” and “[d]oes not appear to be under the influence of any drug, medicine

or alcohol.” Docket No. 350 Tr. 16:2-6. Finally, Petitioner affirmed his understanding

that, by entering a plea of guilty, he would be waiving his right to trial, “as well as all the




by which he waived” his collateral-attack rights. United States v. Hernandez, 242 F.3d 110, 113 (2d Cir.
2001) (addressing waiver of appellate rights). Petitioner’s § 2255 motion does not suggest that he received
ineffective assistance of counsel when he entered into his plea agreement.

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other rights we talked about.” Id. Tr. 21:21 – 22:1. Petitioner then pled guilty, and the

Court found that Petitioner’s “plea of guilty [was] knowing and voluntary.” Id. Tr. 23:5-11.

        Petitioner’s statements during the “grave and solemn act” of pleading guilty, United

States v. Hyde, 520 U.S. 670, 677 (1997), demonstrate that his plea was knowing and

voluntary. There is, therefore, no basis to disregard the plea agreement’s collateral-attack

waiver, and the Court will not do so. 2

                                           CONCLUSION

        For the reasons stated above, Petitioner’s § 2255 motion (Docket No. 333) is

denied. Pursuant to 28 U.S.C. § 2253(c)(1) and Rule 11(a) of the Rules Governing

Section 2255 Proceedings, the Court declines to issue a certificate of appealability

because Petitioner has not made a substantial showing of the denial of a constitutional

right. Finally, the Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal from

this Decision and Order would not be taken in good faith. Thus, leave to appeal in forma

pauperis is denied. Petitioner is nonetheless advised that, should he decide to appeal

this Decision and Order, “Federal Rule of Appellate Procedure 4(a) governs the time to

appeal,” and “[a] timely notice of appeal must be filed even” though the Court declined to

issue a certificate of appealability. Section 2255 Rule 11(b). The Clerk of the Court shall

take all steps necessary to close the parallel civil action, 17-CV-0784-A.

SO ORDERED.



Dated: August 8, 2018                                     ___s/Richard J. Arcara___________
       Buffalo, New York                                  HONORABLE RICHARD J. ARCARA
                                                          UNITED STATES DISTRICT JUDGE


2 Because Petitioner’s § 2255 motion is barred by the collateral-attack waiver, the Court need not address
the merits of Petitioner’s motion.

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